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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Daniel D. Domenico

         Civil Action No. 1:19-cv-03530-DDD-NYW

         JOHN DOE through his mother and next friend JANE DOE,

                 Plaintiff,
         v.

         ROCKY MOUNTAIN CLASSICAL ACADEMY;
         NICOLE BLANC, individually and in her official capacity as Dean of
         Students of Rocky Mountain Classical Academy; and
         CULLEN McDOWELL, individually and in his official capacity as
         Executive Principal of Rocky Mountain Classical Academy,

                 Defendants.


                              ORDER DENYING MOTION FOR
                               PRELIMINARY INJUNCTION


              Before the Court is Plaintiff’s Fed. R. Civ. P. 65 Motion for a Tempo-
         rary Restraining Order and an Order to Show Cause Why a Preliminary
         Injunction Should Not Be Granted. [Doc. 13.]

              Rocky Mountain Classical Academy is a public charter school that
         prides itself on its rigorous, classical academic program and traditional
         ways. Among those ways is a strict, conservative uniform policy that in-
         cludes a prohibition on most jewelry other than small earrings on girls.
         Plaintiff John Doe1 is a six-year-old boy. Last August, he enrolled in


         1   Plaintiff brings suit through his mother and next friend. To protect
         the privacy interests of this young Plaintiff, the Court has granted leave
         for him and his family members to proceed under pseudonyms. [See Mot.
         for Leave to Proceed Anonymously, Doc. 16; Courtroom Minutes, Doc. 31
         at 1 (granting motion for leave).] The parties to the action and the Court
         are aware of Plaintiff’s true name and identity.


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         kindergarten at RMCA. But in July, he had gotten his ears pierced. He
         and he and his parents want him to be able to wear his earrings to
         school. RMCA has refused to change its policy, forcing John to choose
         between the school or his earrings. He has thus far chosen to wear his
         earrings to school in violation of the policy, and the school has begun
         disciplinary actions that have included suspensions and could lead to
         expulsion in the near future.

            Thus it is that a kindergarten dress code has become a federal case,
         pitting fundamentally important constitutional concepts against one an-
         other. The Does urge that the uniform policy, by allowing girls to do
         something boys cannot, denies John the equal protection of the laws
         guaranteed by the Fourteenth Amendment. The school argues that ju-
         dicial intervention with its uniform policy would contravene decades of
         deference shown to local educational authorities by federal courts, def-
         erence born of the very structure of the Constitution, which limits the
         reach of federal judges via both separation of powers and the federalist
         system.

            Both are important principles, and the Court’s duty is to uphold them
         both. But in this case, under governing law and based on the evidence
         before the Court at this early stage, it does not appear that the school is
         denying John the equal protection of the laws, and so it is the school’s
         position that is likely to prevail. Plaintiff’s motion for a preliminary in-
         junction is denied.

                                     BACKGROUND

            John Doe is a six-year-old kindergarten student at RMCA. RMCA is
         a public charter school in Colorado Springs, Colorado that accepts kin-
         dergarten through 8th grade students and operates within Colorado
         School District 49.


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            John had his ears pierced in early July 2019. On July 18, 2019, his
         mother, Jane Doe, signed an RMCA “Multi-Purpose Form” for John and
         his sister, acknowledging that she had “read the RMCA Parent-Student
         Handbook, understand its contents, and agree to help promote a safe,
         effective learning environment by abiding by its policies and proce-
         dures.” [Ex. 101; Jane Doe Aff., Doc. 15 at ¶ 7.] The RMCA Parent-Stu-
         dent Handbook includes a uniform policy that states in relevant part:
         “Tattoos and body piercings, other than girls’ earrings, are not allowed.
         Earrings must be limited to one earring per ear. Large, dangling, or
         hoop-type earrings are not allowed. Jewelry other than watches for boys
         or girls, and small earrings on girls, may not be worn.” [RMCA Parent-
         Student Handbook, Doc. 22-1 at 43.] John’s earrings are small, blue, and
         consistent with RMCA’s uniform policy as it applies to female students.
         [Jane Doe Aff., Doc. 15 at ¶ 11.]

            Prior to the beginning of the school year, RMCA staff conducted var-
         ious learning assessments on John. John wore his earrings to those as-
         sessments, and no staff member expressed any concern regarding his
         earrings or RMCA’s uniform policy. [Id. at ¶ 9.] The school year began
         on August 8, 2019. John consistently wore his earrings to school from
         the beginning of the year. [Id. at ¶ 10.] On August 27, John’s kindergar-
         ten teacher emailed Ms. Doe to inform her that “per our dress code, boys
         [cannot] wear earrings at school.” [Id. at ¶ 12.] Ms. Doe responded that
         she believed RMCA’s earring policy was discriminatory and requested a
         formal meeting to discuss the policy. [Id. at ¶¶ 13-15.]

            Three days later, Ms. Doe met with the RMCA dean of students and
         the executive principal. [Id. at ¶ 15; McDowell Aff., Doc. 22-2 at ¶ 12.]
         Ms. Doe explained her position that the school’s earring policy is dis-
         criminatory, and the executive principal agreed to consider the issue and
         respond definitively the following week. [McDowell Aff., Doc. 22-2 at


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         ¶¶ 12-15.] He also told Ms. Doe that he did not make the uniform policy,
         and it was only his job to enforce it; he told Ms. Doe that if she had
         further issues with the uniform policy, she needed to contact the RMCA
         board of directors for recourse. That same day, Ms. Doe requested a for-
         mal meeting with the RMCA board of directors. [Jane Doe Aff., Doc. 15
         at ¶ 17; McDowell Aff., Doc. 22-2 at ¶ 16.] On September 4, 2019, the
         executive principal contacted Ms. Doe and informed her that after con-
         sidering the issue further, he had decided that John must abide by the
         uniform policy, including the prohibition on earrings for male students.
         [McDowell Aff., Doc. 22-2 at ¶ 17.]

            The next RMCA board meeting was not until December 3, 2019.
         [Jane Doe Aff., Doc. 15 at ¶ 20; McDowell Aff., Doc. 22-2 at ¶ 19.] In the
         interim, John Doe continued to wear his earrings to school, and the
         school notified Ms. Doe several times via email and “Oops Slips” that
         John was in violation of the uniform policy. [Jane Doe Aff., Doc. 15 at
         ¶ 18.] The RMCA board of directors took up the issue at its public meet-
         ing in December. [McDowell Aff., Doc. 22-2 at ¶ 19.] Ms. Doe and John’s
         father attended the meeting, but apparently due to some miscommuni-
         cation or procedural confusion, they did not speak or address the board.
         [Jane Doe Aff., Doc. 15 at ¶ 21; McDowell Aff., Doc. 22-2 at ¶ 20.] The
         board discussed the issue and unanimously agreed not to make any
         changes to the uniform policy. [McDowell Aff., Doc. 22-2 at ¶ 21.] Two
         days later, the school’s attorney sent Ms. Doe a memorandum explaining
         the legal basis for the board’s decision. [Id. at ¶ 22; Memorandum Deci-
         sion, Doc. 23.] The executive principal then informed Ms. Doe that John
         would need to comply with the uniform policy by the following Monday,
         December 9, 2019. [Jane Doe Aff., Doc. 15 at ¶ 23; McDowell Aff.,
         Doc. 22-2 at ¶ 23.]




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            John continued to wear his earrings to school the week of Decem-
         ber 9, 2019. [Jane Doe Aff., Doc. 15 at ¶ 24; McDowell Aff., Doc. 22-2 at
         ¶ 24.] On December 11, 2019, John was suspended for violating the uni-
         form policy, and he was suspended again on December 12, 2019. [Jane
         Doe Aff., Doc. 15 at ¶¶ 25-29; McDowell Aff., Doc. 22-2 at ¶¶ 25-26.] On
         December 12, the school met with Ms. Doe, who stated that John would
         continue to wear his earrings; the school then informed her that it would
         begin the process of dis-enrolling John. [Jane Doe Aff., Doc. 15 at
         ¶¶ 27-31.] Ms. Doe was informed that John could continue to attend
         RMCA through Friday, December 20, 2019. [Id. at ¶ 31.]

            On December 13, Plaintiff filed this suit. [Compl., Doc. 1.] Plaintiff
         brings claims for violation of the Equal Protection Clause of the Four-
         teenth Amendment to the United States Constitution and Title IX of the
         Education Amendments of 1972, 20 U.S.C. §§ 1681-1688. [Id. at
         ¶¶ 55-101.] On December 18, Plaintiff filed the motion for preliminary
         injunction currently before the Court. [Mot. for Prelim. Inj., Doc. 13.] At
         that time, Plaintiff sought a temporary restraining order pursuant to
         Federal Rule of Civil Procedure 65(b) and an order to show cause why a
         preliminary injunction should not issue pursuant to Rule 65(a). [Id.
         at 1-2, 12.] Because the Court found the standard for issuing a TRO
         without notice had not been met, see Fed. R. Civ. P. 65(b)(1), the Court
         instead set an expedited briefing schedule and a hearing on the motion
         for preliminary injunction. [Order, Doc. 17.] Plaintiff seeks an injunction
         requiring RMCA to cease all actions to remove or dis-enroll John from
         school and to allow John to continue to attend school wearing his ear-
         rings. [Mot. for Prelim. Inj., Doc. 13 at 1, 12.]

            On December 20, the executive principal of RMCA notified Ms. Doe
         that RMCA had made a formal recommendation to District 49 that John
         be removed from RMCA either through expulsion or transfer to a


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         District school. [McDowell Aff., Doc. 22-2 at ¶¶ 27-28.] On December 28,
         District 49 informed RMCA that the District would delay consideration
         of RMCA’s request to expel or transfer John pending this Court’s ruling
         on the motion for preliminary injunction. [Id. at ¶ 29.] On Janu-
         ary 7, 2020, John returned to school following the winter break. He has
         continued to wear his earrings, and RMCA has continued to issue John
         suspensions of escalating duration for violations of the uniform policy.
         If John is expelled from RMCA, other public schools in Colorado will
         have discretion to deny him enrollment.

              On January 14, 2020, the Court held a hearing on the motion for
         preliminary injunction, at which it received evidence; heard testimony
         from Jane Doe, the executive principal of RMCA, and the president of
         RMCA’s board of directors; and heard the arguments of counsel. This
         order follows.

                                   APPLICABLE LAW

         I.   Preliminary Injunction Standard

              “A preliminary injunction is an extraordinary remedy, the exception
         rather than the rule.” Free the Nipple-Fort Collins v. City of Fort Collins,
         Colo., 916 F.3d 792, 797 (10th Cir. 2019). To succeed on a motion for
         preliminary injunction, the moving party must show: (1) that it is “sub-
         stantially likely to succeed on the merits”; (2) that it will “suffer irrepa-
         rable injury” if the court denies the injunction; (3) that its “threatened
         injury” without the injunction outweighs the opposing party’s under the
         injunction; and (4) that the injunction isn’t “adverse to the public




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         interest.”2 Id. If the injunction sought is of a “disfavored” type, the mov-
         ing party must make a “strong showing” that the first and third factors
         weigh in its favor. Id. A disfavored preliminary injunction is one that:
         (1) mandates action (rather than prohibiting it); (2) changes the status
         quo; or (3) grants all the relief that the moving party could expect from
         a trial win. Id.

             The first and third of these disfavored types do not appear to be im-
         plicated here. But the Defendants contend that Plaintiff seeks to disturb
         the status quo, while Plaintiff argues the injunction would maintain the
         status quo. The “status quo” is defined as “the last peaceable uncon-
         tested status existing between the parties before the dispute developed.”
         Id. at 798 n.3 (quoting 11A Charles A. Wright & Arthur R. Miller, Fed-
         eral Practice and Procedure § 2948 (3d ed. & Nov. 2018 update)). From
         Plaintiff’s perspective, the status quo is that he has been enrolled at
         RMCA and wearing his earrings to school since the beginning of the
         school year, and the dispute developed nearly a month after school
         started, when his teacher informed Ms. Doe for the first time that he
         could not wear his earrings at school. From Defendants’ perspective, the
         status quo is that the school has a longstanding uniform policy that they
         have been and currently are fully able to enforce as to all students, and
         the dispute developed when John began wearing earrings to school in
         defiance of the rule that he now seeks to alter through court interven-
         tion.




         2  In their briefs, both parties cite to the requirements for obtaining a
         preliminary injunction under Colorado law. [See Mot. for Prelim. Inj.,
         Doc. 13 at 4-5; Defs.’ Resp., Doc. 22 at 6-7.] The Colorado standard is
         similar, but not identical to the federal standard adopted by the Tenth
         Circuit, which is what governs this Court.


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            The Defendants have the better of this argument. While it is true
         that John wore his earrings to school for some time before being disci-
         plined, there is no doubt that he was in violation of the policy. That the
         school elected not to immediately pursue its disciplinary process to the
         fullest extent at the start of the school year and while the Does pursued
         possible changes to the policy via appeal to the board should not be held
         against Defendants. Doing so would discourage any sort of pre-litigation
         grace or compromise in similar circumstances, which is not in anyone’s
         interest. The fact of the matter is that the purpose of the injunction
         sought here is to stop a disciplinary process that has already begun, and
         to render unenforceable a provision of school policy. That is a change in
         the status quo.

            In any event, whether or not the injunction would disturb the status
         quo, the result would be the same in this instance because the Plaintiff
         has not shown a substantial likelihood of success on the merits of his
         claims, even if the heightened disfavored-injunction standard is not ap-
         plied. See Discussion, Part I, infra.

         II. The Constitution and School Dress Codes

            The Court notes at the outset that John Doe asserts only Equal Pro-
         tection and Title IX claims based on the differential treatment of male
         and female students. He does not assert any First Amendment right to
         wear earrings based on freedom of expression or religion, nor does he
         assert any substantive Due Process right to wear earrings based on a
         liberty interest or otherwise. There is also no claim or allegation that
         John wishes to be treated as a girl; he is simply a boy who wants to wear
         earrings at school as a matter of personal preference. This is a pure
         Equal Protection case, based on the argument that boys are being
         treated less favorably than girls.



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             A. Equal Protection Analysis Generally

            The Equal Protection Clause of the Fourteenth Amendment provides
         that “[n]o State shall . . . deny to any person within its jurisdiction the
         equal protection of the laws.” U.S. Const. amend. XIV, § 1. The import
         of this clause is “essentially a direction that all persons similarly situ-
         ated should be treated alike.” City of Cleburne v. Cleburne Living Ctr.,
         473 U.S. 432, 439 (1985).

            When a state action is challenged on Equal Protection grounds,
         courts apply different levels of scrutiny to the action based on what type
         of characteristic the state has used to distinguish one group of citizens
         from anther. Clark v. Jeter, 486 U.S. 456, 461 (1988). At a minimum, a
         classification is subject to “rational-basis” review. Clark, 486 U.S.
         at 461; Price-Cornelison v. Brooks, 524 F.3d 1103, 1110 (10th Cir. 2008).
         Under rational-basis review, a classification is valid if it is “rationally
         related to a legitimate governmental purpose.” Clark, 486 U.S. at 461.
         More stringent levels of scrutiny attach to classifications that are based
         on certain “suspect” characteristics. Price-Cornelison, 524 F.3d at 1109;
         see also City of Cleburne, 473 U.S. at 440.

            Sex is considered a “quasi-suspect” classification that requires “in-
         termediate scrutiny.” Price-Cornelison, 524 F.3d at 1109; Free the Nip-
         ple-Fort Collins, 916 F.3d at 802. To withstand intermediate scrutiny, a
         sex-based classification must have an “exceedingly persuasive justifica-
         tion,” which means that (1) the classification must serve an important
         governmental objective; and (2) the sex-based means employed must
         substantially serve that objective. United States v. Virginia, 518
         U.S. 515, 524 (1996); Craig v. Boren, 429 U.S. 190, 197 (1976).




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             B. Court Oversight of School Dress Codes

            Although students do not “shed their constitutional rights . . . at the
         schoolhouse gate,” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393
         U.S. 503, 506 (1969), judicial interference in the operation of public
         schools “raises problems requiring care and restraint.” Epperson v. Ar-
         kansas, 393 U.S. 97, 104 (1968). “By and large public education in our
         Nation is committed to the control of state and local authorities. Courts
         do not and cannot intervene in the resolution of conflicts which arise in
         the daily operation of school systems and which do not directly and
         sharply implicate basic constitutional values.” Id. The Supreme Court
         “has long recognized that local school boards have broad discretion in
         the management of school affairs.” Bd. of Educ., Island Trees Union Free
         Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 863 (1982); see also New Rider v.
         Bd. of Educ. of Indep. Sch. Dist. No. 1, Pawnee Cty., Okla., 480 F.2d 693,
         699-700 (10th Cir. 1973) (“[I]t is only where state action impinges on the
         exercise of fundamental constitutional rights or liberties that the court
         may interfere with its dedication to local control of education.”).

            Students’ constitutional rights must be “applied in light of the special
         characteristics of the school environment.” Hazelwood Sch. Dist. v.
         Kuhlmeier, 484 U.S. 260, 266 (1988) (quoting Tinker, 393 U.S. at 506).
         Thus, the rights of public school students “are not automatically coex-
         tensive with the rights of adults in other settings,” id., and state action
         that is impermissible in other spheres may be appropriate in the school
         setting, Ebonie S. v. Pueblo Sch. Dist. 60, 695 F.3d 1051, 1056 (10th
         Cir. 2012).

                 1.    The Tenth Circuit’s Deferential Approach

            There are a number of cases dealing with constitutional challenges
         to dress codes. The most analogous Tenth Circuit cases are hair length


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         cases from the 1970s, in which the Circuit evaluated school grooming
         codes that prohibited long hair for male students. See Freeman v. Flake,
         448 F.2d 258 (10th Cir. 1971); New Rider, 480 F.2d 693; Hatch v. Goerke,
         502 F.2d 1189 (10th Cir. 1974). In those cases, the Tenth Circuit repeat-
         edly and consistently declined to interfere with the schools’ discretion to
         promulgate and enforce dress and grooming codes for students. See Free-
         man, 448 F.2d at 261 (“The states, acting through their school authori-
         ties and their courts, should determine what, if any, hair regulation is
         necessary to the management of their schools.”); New Rider, 480 F.2d
         at 700 (“We believe that we would create a veritable quagmire for school
         boards, administrators, and teacher personnel, to attempt to wade
         through in their promulgation and enforcement of dress-hair codes
         which they may deem necessary . . . .”); Hatch, 502 F.2d at 1192 (“[T]he
         complaint against the hair style regulation lacks constitutional sub-
         stance” and does not “directly and sharply implicate basic constitutional
         values.”).

             Of these Circuit cases, only New Rider explicitly involved an Equal
         Protection claim.3 In that case, the court applied rational-basis review,
         and found that the male hair-length regulation at issue bore “a rational
         relationship to a state objective, i.e., that of instilling pride and initiative
         among the students lending to scholarship attainment and high school
         spirit and morale.” 480 F.2d at 693. Based on this holding, Defendants
         contend that this Court must apply rational-basis review to the male

         3   In Freeman, there was “[n]o apparent con[s]ensus . . . as to what con-
         stitutional provision afford[ed] the protection sought,” and the plaintiffs
         relied “variously . . . on the First, Fourth, Eighth, Ninth, Tenth, and
         Fourteenth Amendments . . . and on the penumbra of rights assured
         thereby.” 448 F.2d at 260. In Hatch, the plaintiffs asserted a parental
         right to raise their children according to their own religious, cultural,
         and moral values rooted in the First, Fifth, and Fourteenth Amend-
         ments. 502 F.2d at 1191-92.


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         earring ban at issue in this case. But New Rider predates the Supreme
         Court’s decisions in Craig v. Boren and its progeny, which hold that sex
         is a quasi-suspect classification that requires intermediate scrutiny.
         See Boren, 429 U.S. 190; Miss. Univ. for Women v. Hogan, 458 U.S. 718
         (1982); Virginia, 518 U.S. 515; see also Free the Nipple-Fort Collins, 916
         F.3d 792. Indeed, the Tenth Circuit in New Rider explicitly stated that
         no suspect classification was at issue in that case. 480 F.2d at 698, 700.
         So, while New Rider is useful and important in expressing the deference
         with which federal courts should approach school decision-making, it is
         not binding on this Court with respect to the level of scrutiny to be ap-
         plied in this case.

                 2.   Other Authority

            Outside of the Tenth Circuit, two recent decisions are instructive as
         to the analysis that the Court should apply to the school dress code rule
         at issue here. First, both parties point to Hayden v. Greensburg Commu-
         nity School Corp., where the Seventh Circuit evaluated a school policy
         that required boys’ basketball players at a public high school to keep
         their hair cut short, while girls’ basketball players were not subject to
         the same requirement. 743 F.3d 569 (7th Cir. 2014). The Seventh Circuit
         began its analysis by acknowledging the principle discussed above that
         intermediate scrutiny generally applies to sex-based classifications. Id.
         at 577. Yet the court focused its inquiry on “a discrete subset of judicial
         and scholarly analysis” that addresses “[w]hether and when the adop-
         tion of differential grooming standards for males and females amounts
         to sex discrimination.” Id. This subset of precedent is a line of case law
         that addresses dress and grooming standards in the workplace under
         Title VII of the Civil Rights Act of 1964. See id. at 577-78 (collecting
         cases). Under this line of precedent, employers may differentiate be-
         tween men and women in workplace dress codes, so long as the


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         differential standards imposed are part of a comprehensive dress code
         that imposes comparable burdens, consistent with community norms
         and not based on impermissible sex stereotypes, on both males and fe-
         males alike. Id. at 577-78, 581.

             Applying this precedent, the Hayden court found that the record
         lacked evidence both as to the broader set of grooming rules that were
         applicable to both male and female student-athletes, and as to whether
         longer hair on males “would be out of the mainstream among males in
         the Greensburg community at large, among the student body, or among
         school athletes.” Id. at 578-82. Due to this lack of evidence, the court was
         forced to evaluate the male hair-length policy in isolation.4 Id. In doing
         so, the court found that the school had articulated legitimate reasons for
         imposing grooming standards on student-athletes—namely, promoting
         team unity and projecting a positive image. Id. at 582. But the school
         had not shown that the sex-based distinction in hair-length policy sub-
         stantially served those objectives because “so far as the record reveals,
         those interests are articulated and pursued solely with respect to mem-
         bers of the boys basketball team,” and the defendants had not shown
         that those interests were served through comparable grooming stand-
         ards for female athletes. Id. Accordingly, the court held that no exceed-
         ingly persuasive justification had been shown for restricting the hair
         length of male athletes alone, and the plaintiffs were entitled to judg-
         ment on their Equal Protection claim. Id.




         4  The case had been jointly submitted to the district court for judgment
         based on a stipulated set of facts, and the district court ruled in favor of
         the defendants based on rationales that the Seventh Circuit rejected.
         743 F.3d at 573, 579-80. The Circuit noted that had the district court
         instead granted a defense motion for summary judgment, it would have
         remanded the case for further proceedings on liability. Id. at 579.


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             Second, in Peltier v. Charter Day School, Inc., the Eastern District of
         North Carolina evaluated a school uniform policy that required female
         students to wear skirts, skorts, or jumpers, while male students were
         required to wear shorts or pants. 384 F. Supp. 3d 579 (E.D.N.C. 2019).
         The district court applied Hayden’s “comparable burdens” analysis and
         found that the dress code requiring girls to wear skirts did not pass mus-
         ter. Id. at 596. The court found that the skirts requirement imposed a
         differential burden on girls because it

                  renders them unable to play as freely during recess, re-
                  quires them to sit in an uncomfortable manner in the class-
                  room, causes them to be overly focused on how they are sit-
                  ting, distracts them from learning, and subjects them to
                  cold temperatures on their legs and/or uncomfortable lay-
                  ers of leggings under their knee-length skirts in order to
                  stay warm.

         Id. at 597. The school’s dress code did not impose any comparable burden
         on boys. Id. The court also found that the skirts requirement was incon-
         sistent with community norms, given that “[w]omen (and girls) have, for
         at least several decades, routinely worn both pants and skirts in various
         settings, including professional settings and school settings.”5 Id. at 596
         & n.7.

             Finally, the court found that the skirts requirement did not substan-
         tially serve the school’s proffered reasons for the rule—to foster a


         5 The plaintiffs had presented evidence showing that most public school
         dress codes across the country allowed girls to wear pants or shorts by
         the mid-1980s; female cadets at West Point have been permitted to wear
         trousered uniforms since the first coed class entered in 1976; and fe-
         males began wearing pant suits on the Senate floor for the first time
         in 1993. Peltier, 384 F. Supp. 3d at 596 & n.7. The court also found that
         “there is no evidence that requiring girls to wear skirts on a daily basis
         is consistent with community standards of dress in Brunswick County
         or in North Carolina generally.” Id. at 596.


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         “disciplined environment that has mutual respect between boys and
         girls” and to help the students “‘act more appropriately’ toward the op-
         posite sex”—because girls were not required to wear skirts on certain
         days, and there was no evidence that the boys treated the girls differ-
         ently or vice versa on those days. Id. at 596. Based on these findings, the
         court granted summary judgment to the plaintiffs on their Equal Pro-
         tection claim. Id. at 597.

            It is not entirely clear just how the “comparable burdens” test applied
         in Hayden and Peltier fits into the overarching intermediate scrutiny
         framework. Nor is it self-evident that the line of precedent addressing
         workplace dress codes under Title VII, while analogous, should neces-
         sarily be applied to school dress codes subject to an Equal Protection
         challenge. But the Court need not resolve these questions, because as
         discussed further below, based on the preliminary injunction record, the
         Court finds both that RMCA’s prohibition on earrings for male students
         is part of a comprehensive school dress code that imposes comparable
         burdens on males and female students, and that the school has proffered
         a justification for the rule that withstands intermediate scrutiny.

         III. Title IX

            Under Title IX, “No person in the United States shall, on the basis of
         sex, be excluded from participation in, be denied the benefits of, or be
         subjected to discrimination under any education program or activity re-
         ceiving Federal financial assistance.” 20 U.S.C. § 1681(a). There does
         not appear to be any dispute that RMCA receives federal financial as-
         sistance, or that it is subject to Title IX’s ban on sex discrimination as a
         general matter. There is some question, however, as to whether Title IX
         applies to school personal-appearance codes like the uniform policy at
         issue here. See Peltier, 384 F. Supp. 3d at 589-90 (applying Chevron



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         deference to Department of Education’s interpretation that Title IX does
         not apply to “discrimination in the application of codes of personal ap-
         pearance”). But the Court need not resolve that question at this stage of
         the proceedings, because the parties agree that the standard for evalu-
         ating sex discrimination under Title IX mirrors that for evaluating sex
         discrimination under the Equal Protection Clause. Thus, if Title IX ap-
         plies to RMCA’s uniform policy, Plaintiff’s likelihood of success on the
         merits of his Title IX claims does not differ in any material respect from
         his likelihood of success on his Equal Protection claim.

                                      DISCUSSION

         I.   Likelihood of Success on the Merits

              Because John Doe is a boy, he is prohibited from wearing earrings to
         school; were he a girl, he would not be subject to that restriction.
         RMCA’s dress code thus creates a sex-based classification on its face,
         and according to the Does, RMCA cannot justify this differential treat-
         ment of boys and girls. But the constitutional question is not so straight-
         forward as that. None of the relevant decisions definitively and explicitly
         lays out the entire analytical framework for a case like this, but in gen-
         eral the Court agrees with the parties that Hayden comes closest and is
         persuasive.

              Contrary to the Does’ argument, Hayden does not hold that any dress
         or grooming code that imposes different rules for boys and girls is nec-
         essarily subject to intermediate scrutiny. Instead, the Hayden decision
         cites a litany of cases from around the country from the employment
         (Title VII) context, all of which reach the same basic conclusion: so long
         as the burdens of the dress code on both sexes are comparable and evenly
         enforced, the fact that there are different rules for each sex does not
         amount to sex discrimination. See 743 F.3d at 577-78 (collecting cases


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         from 4th, 5th, 6th, 7th, 8th, 9th, and D.C. Circuits). The Hayden court
         noted that the school in that case had not made the argument that a
         grooming “policy that applies only to male [students], but which is just
         one component of a set of grooming standards that impose comparable,
         although not identical, responsibilities on male[s] and female[s] . . . does
         not constitute sex discrimination.” Id. at 579-80. That argument has
         been made here, and it is clear where the vast weight of precedent cited
         in Hayden points. If the RMCA uniform policy imposes comparable bur-
         dens on boys and girls, even though the rules for each sex are not iden-
         tical, the policy does not constitute sex discrimination.

            The Court will therefore address in turn (A) whether the school has
         shown that the earring policy is just one component of a comprehensive
         dress code that imposes comparable though not identical burdens on
         both male and female students; and (B) whether the school has proffered
         an exceedingly persuasive justification for the differential treatment of
         male and female students. If either is true, then the earring rule is not
         impermissibly discriminatory.

             A. Comparable Burdens

            RMCA’s uniform policy encompasses approximately two-and-a-half
         pages of a fifty-six-page Parent-Student Handbook. [RMCA Parent-Stu-
         dent Handbook, Doc. 22-1 at 41-44.] The uniform policy contains numer-
         ous rules that apply equally to both sexes. For example:

               All clothing must be properly fitting and conservative in
                nature.

               Pants must not be too tight. On days when jeans are al-
                lowed . . . . jeans that are deemed too tight or have holes or
                rips are not allowed.




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               Shorts . . . should be no shorter than two inches above the
                knee when sitting.

               Acceptable shirt styles . . . are: Short sleeve polos[,] Long
                sleeve polos[, and] Turtlenecks.

               Students in grade K-4 must have shirts tucked in at all
                times. Students in grades 5-8 may leave their shirts un-
                tucked.

               Shoes should have closed toe and closed heel. The shoes
                must have no lights. . . . Shoelaces must be solid in color
                and match an accent color in the shoe. . . . No shoes will go
                above the height of the standard high top athletic shoe. No
                shoes will have separated toes. No clogs or slides. No san-
                dals or flip flops.

               Students must wear socks or tights at all times. Socks
                should be solid in color and should coordinate with uniform
                pants or shirts. . . . Socks must match one another.

               RMCA spirit wear hoodies . . . or pullover hoodies . . . with
                no logos or designs as well as cardigan, fleece, zip-up, or
                pullover sweaters in approved uniform colors are allowed
                in the classroom. All other out wear must remain in lockers
                or designated storage areas during the school day.

               Appropriate undergarments must be worn and not visible.

               Bracelets are not allowed.

               Necklaces may be worn but should be inside the shirt.

               Hairstyle and hair color must be conservative in nature.
                . . . Mohawk, faux hawk, no symbols, shapes, or designs of
                any kind shaved into the head or anything that inhibits the
                learning environment as determined by the campus admin-
                istration. Hair may not be spiked. Large hair decorations
                may not be worn. Bandanas may not be worn. Highlights
                must be two tones lighter or darker than the student’s nat-
                ural hair color. No highlights that are not a natural hair
                color.


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         [Id.]

            The uniform policy also contains a number of rules that are sex-spe-
         cific, including the earring policy:

                Boys may wear classic navy or khaki colored pants or
                 shorts. Girls may wear classic navy or khaki colored pants,
                 shorts, capris, skirts or jumpers. . . . Girls in grades K-5
                 may wear polo style dresses.

                Girls may wear tights or leggings under their skirts.

                Camis for girls and undershirts for boys are allowed, but
                 not required, and must not show.

                Tattoos and body piercings, other than girls’ earrings, are
                 not allowed. . . . Jewelry other than watches for boys or
                 girls, and small earrings on girls, may not be worn.

                Boys’ hair must not extend below the top of the shirt collar
                 in the back, the bottom of the ears on the sides or the eye-
                 brows in front.

         [Id.]

            The dress code is, as the school’s witnesses described it, strict, tradi-
         tional, and conservative, for both boys and girls. The only rules that dif-
         fer for male and female students are that girls may wear capris, skirts,
         jumpers, or polo style dresses while boys may not; girls may wear ear-
         rings while boys may not; and girls’ hair may be kept long while boys’
         hair may not. Plaintiffs contend that because all of the sex-based differ-
         ences in the dress code place restrictions on boys that are not also placed
         on girls, the dress code does not place comparable burdens on both
         sexes—girls are permitted several freedoms that are not afforded to
         boys. Defendants contend that the sex-based differences within the
         dress code simply reflect community norms both in the Colorado Springs



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         community at large and within the RMCA community in particular,
         which strives to uphold traditional standards of conservative dress.

             Having reviewed the RMCA uniform policy in its entirety, as well as
         the testimony and arguments of the parties, the Court finds that the
         policy imposes comparable burdens on students of both sexes. The uni-
         form policy is comprehensive and thorough, and all students are subject
         to numerous restrictions designed to ensure a certain level of modest
         and conservative dress. This distinguishes this case from Hayden, in
         which the hair-length limitation was imposed only on male athletes, and
         the record lacked evidence as to what grooming standards were imposed
         on female athletes, preventing the court from evaluating whether the
         standards for both sexes were comparable.6 In this case, to the extent
         that male students are subject to a handful more restrictions than fe-
         male students, those restrictions are not particularly burdensome or on-
         erous. There has been no allegation or testimony that John is somehow
         limited in what he can do at school if he is not allowed to wear earrings.
         The male earring ban here is thus distinguishable from the skirt man-
         date for female students in Peltier, which, the record showed, imposed a
         far more tangible burden on girls by inhibiting their ability to move and
         play freely and making them physically uncomfortable during the school
         day.

             The only burden the Does have expressed here is that John wishes
         to wear his earrings as a matter of personal preference. But the entirety
         of RMCA’s uniform policy is designed to place significant limits on the


         6 This also distinguishes the male earring ban in this case from the pub-
         lic-nudity ordinance struck down in Free the Nipple-Fort Collins, which
         imposed restrictions on female toplessness only. This perhaps explains
         why neither side cited this recent Tenth Circuit Equal Protection case
         in its brief.


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         choices and self-expression of students of both sexes when it comes to
         their appearance.

             Ultimately, the uniform policy places the same essential burden on
         both boys and girls: they must limit their individuality and adhere gen-
         erally to a traditional, conservative appearance. If the policy said simply
         that, there would be no argument that it was facially discriminatory.
         Cf., Harper v. Edgewood Bd. of Educ., 655 F. Supp. 1353, 1356 (S.D.
         Ohio 1987) (“The school dress code does not differentiate based on sex.
         The dress code requires all students to dress in conformity with the ac-
         cepted standards of the community.”). But as it is, the effect is the same,
         and the policy merely provides specific rules that fit that broader one.
         While that means girls have a few more options than boys when it comes
         to dresses, capris, earrings, and haircuts, that is simply a reflection of
         the community norms for what constitutes a traditional, conservative
         appearance for boys and girls. While it is not entirely uncommon in 2020
         to encounter a male wearing earrings, long hair, or even a skirt, it can
         hardly be disputed that these things still remain less common style
         choices for males than for females. And RMCA’s uniform policy is in-
         tended to reflect, as the school officials put it, a more restrictive, less-
         expressive, traditionally conservative community standard.7 That tradi-
         tional standard is not one that every student or every school might pre-
         fer, but nor does it impose excessive burdens on males. Conforming to
         that standard is every student’s burden, and while not identical, it is
         legally comparable.




         7   Peltier is again distinguishable here. In that case not only did the
         skirts requirement impose a tangible burden on girls, but it was incon-
         sistent with community norms for even traditionally conservative set-
         tings.


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             In sum, based on the preliminary injunction record, the Court finds
         that the prohibition on earrings for male students at RMCA is simply
         one component of a comprehensive uniform policy that imposes compa-
         rable, though not identical demands on male and female students.8
         Thus, while on its face the policy differentiates between boys and girls,
         the differential standards imposed do not constitute sex discrimination.
         And if so, then the policy would be subject to the highly deferential
         standard of review expressed by the Tenth Circuit in Freeman, New
         Rider, and Hatch, and would likely be upheld for the same reasons. Even
         if, however, one viewed a traditional dress code as imposing a discrimi-
         natory burden on boys, Defendants have proffered a justification for the
         school’s earring policy that withstands intermediate scrutiny at the pre-
         liminary injunction stage.

             B. Intermediate Scrutiny

             To withstand intermediate scrutiny, the sex-based classifications in
         RMCA’s uniform policy must substantially serve an important govern-
         mental objective. Defendants have articulated numerous important ob-
         jectives that are served by the uniform policy generally. Specifically, De-
         fendants state that “RMCA’s dress code advances neutral pedagogical
         goals, such as upholding a high standard of excellence, reducing distrac-
         tions, and creating an environment where all students are ready to
         learn. RMCA’s Uniform Policy also fosters pride in RMCA as an institu-
         tion, decreases cliques and individualism, and decreases concerns about
         wealth inequality.” [McDowell Aff., Doc. 22-2 at ¶ 30; accord RMCA


         8  As the case progresses through discovery, the parties might again
         cross swords on the issues of community norms, comparable burdens,
         whether the uniform policy is enforced equally as to both sexes, and
         whether a sex-specific accessory rule like the earring policy constitutes
         impermissible sex-stereotyping. See Hayden, 743 F.3d at 579-80.


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         Parent-Student Handbook, Doc. 22-1 at 41 (“RMCA upholds a high
         standard of excellence. Our school uniform is no exception. Please en-
         sure that your student(s) are properly dressed and ready to learn when
         they come to school.”).] The Court has no doubt that these are important
         educational objectives. See Island Trees, 457 U.S. at 864 (“[T]here is a
         legitimate and substantial community interest in promoting respect for
         authority and traditional values be they social, moral, or political.”);
         New Rider, 480 F.2d at 699 (“Common sense dictates that some uniform
         regulations are necessary in order to maintain order, spirit, scholarship,
         pride and discipline in the operation of . . . a school system.”).

            The question becomes, then, whether the differential treatment of
         male students substantially serves one or more of those objectives. In
         analyzing this question, the Court is mindful of the Supreme Court’s
         and Tenth Circuit’s directives that schools should be given substantial
         deference in the management of their affairs. Notably, the male plain-
         tiffs in New Rider and Hatch wished to wear their hair in long braids
         that had religious, cultural, and racial significance to them as Native
         Americans. See New Rider, 480 F.2d 693; Hatch, 502 F.2d 1189. Yet even
         in those cases, where the hair-length limits interfered not just with the
         plaintiffs’ personal desires, but their religious and racial identities, the
         court deferred to the schools’ discretion to promulgate and enforce their
         own dress codes.

            Even so, some of RMCA’s proffered reasons for its uniform policy,
         while legitimate goals, are not served by the differential treatment of
         boys at issue here. For example, RMCA’s desire to mitigate potential
         displays of wealth inequality justifies a general limit on the wearing of
         jewelry, but that goal is not advanced by limiting earrings to just one
         sex. Cf. Crews v. Cloncs, 432 F.2d 1259, 1266 (7th Cir. 1970) (short hair
         on males did not serve school’s stated objective of safety in gym and


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         science classes, where females were permitted to wear long hair and
         safety could be accomplished by sex-neutral means such as requiring
         hair nets around Bunsen burners).

            RMCA proposes two goals that the sex-based differences in its uni-
         form policy advance. Perhaps its most persuasive argument is that the
         main appeal of the school itself is that it is a classically-focused, tradi-
         tional school with a rigorous curriculum, in which students are expected
         to set aside their desires to express individuality through personal ap-
         pearance while at school so that everyone can and will be focused on
         academics. School officials testified that this is a leading reason many
         families choose to attend RMCA, and that they believed eliminating the
         uniform policy, or even just the sex-specific portions of it or the male
         earring ban alone, would undermine their ability to pursue that goal.

            It is perhaps relevant here that RMCA is a charter school. The very
         purpose of charter schools is to provide a variety of schooling models and
         options to parents and students. See, e.g., C.R.S. § 22-30.5-102(2) (Pur-
         poses of enacting charter school statute include “[t]o encourage diverse
         approaches to learning and education and the use of different, innova-
         tive, research-based, or proven teaching methods” and “[t]o provide par-
         ents and pupils with expanded choices in the types of education oppor-
         tunities that are available within the public school system”). Being “clas-
         sical” and “traditional” is how RMCA seeks to differentiate itself. And so
         while the Does are certainly correct that RMCA’s approach is not the
         only possible schooling model, or even the only model that works, their
         emphasis on the fact that other public schools nearby are able to effec-
         tively educate their students without implementing similar dress codes
         is beside the point. The same was undoubtedly true in the context of the
         Freeman, New Rider, and Hatch cases, but the Tenth Circuit recognized
         that it is not up to the federal courts to impose their own views on local


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         schools as to what might be the best educational model. Based on the
         preliminary injunction record, the Court finds that RMCA’s goal of purs-
         ing a classical schooling model that includes deemphasizing individual-
         ism by enforcing traditional standards of conservative dress is substan-
         tially served by the comparable, albeit different, uniform restrictions
         placed on male and female students.

            Secondly, RMCA also presented testimony that supports the propo-
         sition that the male earring ban substantially serves the stated objective
         of reducing classroom distractions. Defendants presented unrebutted
         testimony that school officials believe that boys wearing earrings would
         create distractions that girls’ wearing them does not. The chair of the
         RMCA school board, for example, noted that when she encounters boys
         or men wearing earrings, “I notice. . . . I think, oh, wow. That guy’s wear-
         ing earrings. That’s not something you see all the time,” but “[w]hen I
         see women wearing earrings, I don’t notice.” She stated that while as an
         adult, she is able to quickly process something out of the ordinary and
         go on about her day, kids in the classroom are not able to do that as
         easily. She and RMCA’s executive principal both testified that they be-
         lieved that such distractions would only be worse among elementary age
         children. They testified that RMCA’s uniform policy is intended to create
         an environment free of such distractions so that students can focus on
         their schoolwork.

            They also testified that if one part of the uniform policy is excised
         simply so a student can wear attire of his choosing, that will make it
         that much more difficult for the school to enforce other provisions of the
         uniform policy. The executive principal explained that exceptions to the
         policy are thus very rarely made, and only for medical reasons. [See also
         McDowell Aff., Doc. 22-2 at ¶¶ 8-9.] He testified that when changes to
         the uniform policy are made, they are not made lightly, and are made


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         only when it becomes clear that the majority of the community supports
         them, such as when the rule requiring tucked-in shirts was eliminated
         for older students. He also testified that there have been attempts by
         students in the past to buck or push the limits of the system, such as by
         wearing unauthorized large or hoop-type earrings. School officials fear
         that eliminating the earring prohibition for John would begin chipping
         away at the strict, academics-focused environment that the uniform pol-
         icy (and the school itself) are meant to ensure.

            Crafting a school dress code necessarily entails striking a balance
         between the rights of individual students and the rights of the whole in
         the functioning of the school. That not everyone, not even every school
         administrator or teacher or parent, would agree with the balance RMCA
         has chosen or the school’s reasons for choosing it is irrelevant; the same
         could have been said about the facts in Freeman, Hatch, and Free Rider.
         This is precisely the sort of matter on which those cases emphasize the
         Court is bound to defer to the local officials charged with making such
         decisions. At this stage of the proceedings and on the record before it,
         the Court is persuaded that RMCA would likely be able to show that its
         prohibition on earrings for male students substantially serves the im-
         portant objectives of upholding traditional, rigorous standards and re-
         ducing classroom distractions. See Jones ex rel. Cooper v. W.T. Henning
         Elementary Sch. Principal, 721 So. 2d 530, 532 (La. Ct. App. 1998) (ap-
         plying intermediate scrutiny and finding no Equal Protection violation
         because “[i]t is not a common occurrence for boys in elementary school
         grades to wear earrings,” and male earring ban served important gov-
         ernmental objectives of avoiding classroom distraction and instilling dis-
         cipline by requiring conformance to community standards); Hines v.
         Caston Sch. Corp., 651 N.E.2d 330, 335-36 (Ind. Ct. App. 1995) (applying
         intermediate scrutiny and finding no Equal Protection violation because



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         “the wearing of earrings by males is inconsistent with community stand-
         ards of dress in Caston,” and male earring ban served legitimate educa-
         tional function of instilling discipline via enforcement of community
         standards of dress).

            Accordingly, the Court finds that RMCA has preliminarily shown an
         exceedingly persuasive justification for the male earring ban in its uni-
         form policy, and that Plaintiff has not shown a substantial likelihood of
         success on the merits of his case.

         II. Irreparable Injury to Plaintiff

            Had Plaintiff shown a substantial likelihood of success on the merits,
         irreparable injury would be presumed to flow from the constitutional
         violation. Free the Nipple-Fort Collins, 916 F.3d at 805-06. But because
         Plaintiff has not demonstrated a substantial likelihood of success on his
         claims, the Court must evaluate the injury that would befall John if he
         is forced to make a choice—remove his earrings during school hours or
         face dis-enrollment from RMCA via expulsion or transfer—during the
         pendency of this lawsuit. The Court does not take lightly the threat of
         expulsion, which is a serious consequence that has the potential to im-
         pede John’s ability to get admitted at another District school. John can
         easily avoid that consequence, however, by removing his earrings during
         school hours during the pendency of this suit. If John ultimately prevails
         on his claims, he will likely be awarded damages and a permanent in-
         junction against RMCA’s enforcement of the earring ban going forward.
         Not wearing his earrings is perhaps harmful, but if it is not likely to be




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         a constitutional right, that harm is not irreparable.9 See id. at 806 (in
         the context of constitutional claims, “the constitutional-violation-as-ir-
         reparable-injury principle . . . collapses the first and second preliminary-
         injunction factors”). Thus, the Court does not find that John will suffer
         irreparable injury if a preliminary injunction is not granted.

         III. Balance of Harms

             As noted above, the harm to John if a preliminary injunction is not
         granted is that he will be forced to remove his earrings during the school
         day or face dis-enrollment, and may potentially suffer the ongoing in-
         fringement of his constitutional rights during the pendency of this law-
         suit, if he were to ultimately prevail on his claims.

             The harm to Defendants if a preliminary injunction is granted is that
         RMCA will be prohibited from even-handedly enforcing its uniform pol-
         icy as to all students while the lawsuit is pending. School officials testi-
         fied that administrators and teachers have spent a significant amount
         of time dealing with John’s suspensions and appeals, and have encoun-
         tered some difficulties in attempting to deal with John’s wearing of ear-
         rings while the parties waited for a final decision from the board of di-
         rectors regarding the earring policy. But much of that harm could be
         alleviated by simply allowing John to wear the earrings during the liti-
         gation. There was scant testimony as to whether John wearing earrings
         had caused any actual distraction that disrupted learning within the




         9   The Court also notes that although the expedited briefing schedule
         permitted Plaintiff to file a reply brief, he chose not to do so. Addition-
         ally, the preliminary injunction hearing that was originally set for Jan-
         uary 3, 2020 (i.e., before RMCA was scheduled to resume classes follow-
         ing the winter break) was continued to January 14, 2020 at the request
         of Plaintiff’s counsel.


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         classroom, as opposed to being the subject of hallway gossip outside the
         classroom and phone calls to administrators from other parents.

              On the whole, for both sides, this seems to be more a matter of prin-
         ciple than direct harm. While the principles each side is fighting for are
         important, the potential harm to either side of awaiting a final decision
         on the merits does not appear to be great, and the harms seem relatively
         balanced.

         IV. Public Interest

              It is always in the public interest to prevent the violation of a party’s
         constitutional rights. Free the Nipple-Fort Collins, 916 F.3d at 807. But
         as noted above, John has not shown a substantial likelihood of success
         on the merits of his constitutional claim. And, providing a safe, effective,
         and distraction-free education to students attending public schools is
         also in the public interest. The Court finds that this factor is neutral and
         does not weigh in favor of either side.

                                        CONCLUSION

              Plaintiff has failed to show a substantial likelihood of success on the
         merits of his claims. That factor alone is dispositive of his motion for a
         preliminary injunction.10 And as discussed above, the other preliminary


         10  Under the preliminary injunction standard of a different circuit
         court, it is possible that John Doe might have prevailed. See, e.g., Trump
         v. Deutsche Bank AG, 943 F.3d 627, 635 (2d Cir. 2019) (“[D]istrict courts
         may grant a preliminary injunction where a plaintiff demonstrates ir-
         reparable harm and meets either of two standards: ‘(a) a likelihood of
         success on the merits, or (b) sufficiently serious questions going to the
         merits to make them a fair ground for litigation, and a balance of hard-
         ships tipping decidedly in the movant’s favor.’”), cert. granted,
         No. 19-760, 2019 WL 6797733 (U.S. Dec. 13, 2019). The Court does be-
         lieve that John has raised serious questions going to the merits of his
         claims. But under the law governing the Tenth Circuit as the Court


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         injunction factors are essentially neutral, and thus do not weigh deci-
         sively in his favor.

            Accordingly, tor the foregoing reasons, it is ORDERED that Plain-
         tiff’s Fed. R. Civ. P. 65 Motion for a Temporary Restraining Order and
         an Order to Show Cause Why a Preliminary Injunction Should Not Be
         Granted [Doc. 13] is DENIED.

         DATED: January 20, 2020                  BY THE COURT:




                                                  Daniel D. Domenico
                                                  United States District Judge




         understands it, raising serious merits questions is not enough. Here,
         John must show a substantial likelihood of success on the merits, and
         that he has not done.


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